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                                   IN THE UNITED STATES
                                BANKRUPTCY COURT FOR THE
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


                                                                       Chapter 11
    In re:
                                                                       Case No. 20-33948 (MI)

    FIELDWOOD ENERGY LLC, et al.,                                      (Jointly Administered)

                                         Debtors.1




                         Affidavits of Service for Mailings for the Period from
                             February 7, 2021 through February 13, 2021




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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778);
Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore LLC(4494); Fieldwood Onshore LLC (3489);
Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM
Shelf LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy
SP LLC (1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’
primary mailing address is 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
